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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

Plaintiff,
v- No. 04_20067-13 /
05-20004-13
sTEPHEN R_ TURNER,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s motion for appointment of counsel for appeal filed on
May 13, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections

IT IS SO ORDERED this pG-"L`day of May, 2005.

M

J. DANIEL BREEN\
UNI ED sTATEs DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 38 in
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Honorable J. Breen
US DISTRICT COURT

